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                       Teachers Insurance and Annuity Association
                         730 Third Avenue, New York, N.Y. 10017-3206
                                   Telephone: 800-842-2733
                   Group Supplemental Retirement Annuity Certificate
Annuitant:    Vellali, Joseph F
Certificate number:         96E-4
Date of Issue: 05 01 2008
This certificate states the rights that you, the annuitant, have under a Group Supplemental Retirement Annuity
contract (the Contract) issued by Teachers Insurance and Annuity Association of America (TIAA) to your
employer, the contractholder. PLEASE READ YOUR CERTIFICATE. IT IS IMPORTANT.
                                        GENERAL DESCRIPTION
All premiums for this certificate must be remitted under the terms of your employer plan. You may allocate
your TIAA premiums between the Traditional Annuity and the Real Estate Account. Your rights under this
certificate are subject to the vesting provisions of your employer plan.
Traditional Annuity. Each premium allocated to the Traditional Annuity buys a definite amount of lifetime
income for you, based on the rate schedule in effect for your certificate at the time the premium is paid. Your
Traditional Annuity accumulation will be credited with a guaranteed interest rate, and may also be credited
with additional amounts declared by TIAA.
Real Estate Account. Each premium allocated to the Real Estate Account buys a number of accumulation
units. Your Real Estate Account accumulation is not guaranteed, and may increase or decrease
depending on investment results. Neither earnings nor the value of your invested principal in the Real
Estate Account are guaranteed, and the value of the units you own may at any time be more or less than
you paid for them. Accumulations in the Real Estate Account are not covered by an insurance guaranty
fund or other solvency protection arrangement because under this certificate the risk is borne by the
certificateholder.
Subject to the terms of your employer plan, you may withdraw all or part of your available accumulation
before beginning to receive annuity income. You may transfer between your available Traditional Annuity
accumulation and your Real Estate Account accumulation, or from either of those accumulations to your
companion CREF certificate. Withdrawals and transfers from the Traditional Annuity are subject to the
withdrawal charges, if any, specified in your certificate’srate schedule. TIAA can establish new rate schedules
in the future, but any such changes would not affect benefits purchased before the change.
When you are ready to start receiving your income, you may, in accordance with the terms of your employer
plan, choose an option from among those described in your certificate. If you die before you start receiving
your income, your accumulation less any outstanding loan balance will provide a death benefit for your
beneficiary.
If your employerplan provides for loans, you may be permitted to borrow from your available Traditional
Annuity accumulation, subject to restrictions which may be imposed by your employer and/or TIAA. Loans
will not be available from your Real Estate Account accumulation.
30-Day Right to Examine Your Certificate. You have 30 days from the day you receive this certificate to
examine it and to cancel it if you decide not to keep it. If you decide to cancel this certificate, send it and your
request to TIAA at the address shown above. Upon receipt of such request, TIAA will refund all premiums
allocated to the Traditional Annuity and the accumulated value of all premiums allocated to the Real Estate
Account as of the date you mailed or delivered your request to us. Any premium taxes and expense charges
deducted from premiums will also be refunded. As of that date, this certificate will then be void and no
benefits will be provided under it. If this certificate was issued as a result of a transfer from another contract
or certificate issued by TIAA or CREF, the refund will be reinstated in such contract or certificate as of the
date of cancellation.
This certificate cannot be assigned.
If you have any questions about your certificate or
need help to resolve a problem, you can contact                                Chairman, President and
us at the address or phone number above.                                        Chief Executive Officer


                                            Group Flexible Premium
                                               Deferred Annuity
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Your TIAA Group Supplemental Retirement Annuity Certificate


                                  PART A: ANNUITANT DATA

Annuitant:   Vellali, Joseph F
Social Security Number:     ON FILE
Date Of Birth:            1960
Date Of Issue:    05 01 2008
Annuity Starting Date:    04 01 2025


Certificate Number:          96E-4
Companion CREF Certificate Number:            96E-2
Contractholder:    YALE UNIVERSITY
Group Supplemental Retirement Annuity Contract No:         1001



The Contract under which this Certificate was issued was made and delivered in the State of
Connecticut. The validity and effect of all rights and duties under the Contract are governed
by the laws there in force.

New Loans will not be available when the Reference Interest Rate, as defined in Section 65,
exceeds the applicable Special Loan Interest Rate Limit, if any is shown below. The Special
Loan Interest Rate Limit is: none.




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Your TIAA Group Supplemental Retirement Annuity Certificate




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         TEACHERS INSURANCE AND ANNUITY ASSOCIATION OF AMERICA
                                       (TIAA)
                    730 Third Avenue, New York, N.Y. 10017-3206
                              Telephone: 800-842-2733

                 Endorsement to Your TIAA Group Deferred Annuity Certificate


                    Effective Date: Later of Date of Issue or December 29, 2011,
    and as part of endorsement END-G1000.6-ACC, END-G1000.7-ACC, END-G1250.1-ACC
                       or END-G1251.1-ACC, if such an endorsement applies.



This endorsement is part of your certificate with TIAA. Please read this endorsement and attach it to
your certificate.


The definition of valuation day is replaced with the following:

A valuation day is any day that the New York Stock Exchange is open for trading. Valuation days
end as of the close of all U.S. national exchanges where securities or other investments of the
Separate Account(s) are principally traded. A valuation period is the time from the end of a
valuation day to the end of the next valuation day.

Your certificate is modified as follows:

Notwithstanding any other provision in your certificate, no transaction available to you may be made
effective on a day that is not a business day, except as follows: when a business day is the last day of
a calendar month, annuity income payments and annuity death benefit payment methods may begin
on the next day even when it is a non-business day.




                                                                      President and
                                                                  Chief Executive Officer




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        TEACHERS INSURANCE AND ANNUITY ASSOCIATION OF AMERICA
                                      (TIAA)
                   730 Third Avenue, New York, N.Y. 10017-3206
                              Telephone: 800-842-2733


                   Endorsement to Your TIAA Deferred Annuity Certificate


          Effective Date: Date of issue, and as part of endorsement END-G1000.6-ACC or
                         END-G1250.1-ACC, if such endorsement applies

This endorsement is part of your certificate with TIAA. It adds a provision to your certificate, as
follows:

An internal funding vehicle transfer is the movement of accumulations among or between any of
the following:
         i.    your Traditional Annuity accumulation
         ii.   your Real Estate Account accumulation
         iii.  your Investment Account accumulation
         iv.   your companion CREF certificate
         v.    any other funding vehicle accumulation you may have which is administered by TIAA
               or CREF on the same record-keeping system as this certificate.

However, an internal funding vehicle transfer does not include any of the following:
      •       Systematic withdrawals and transfers (SWATs)
      •       Automatic rebalances
      •       Any transaction arising from a TIAA sponsored advice product or service
      •       Transfer Payout Annuity (TPA) payments directed to the Real Estate Account.

You may not apply internal funding vehicle transfers to your Real Estate Account accumulation if
after giving effect to such transfer the total value of your Real Estate Account accumulation under
this certificate and any other TIAA annuity contract or certificate issued to you would exceed a
threshold amount of $150,000. Any internal funding vehicle transfer which cannot be applied
pursuant to this rule will be rejected in its entirety and we will communicate such rejection to
you. If, as of the effective date of this endorsement, the total value of your Real Estate Account
accumulation under this certificate and any other TIAA annuity contract or certificate issued to
you already exceeds the threshold amount, you will not be required to reduce such accumulation
to a level at or below the threshold.

The Real Estate Account accumulation unit values used in applying this provision will be those
calculated as of the valuation day preceding the day on which the proposed transfer is to be effective.
For the purpose of this provision, the total value of your Real Estate Account accumulation will
include the value of any pending internal funding vehicle transfers into your Real Estate Account
accumulation under any TIAA annuity contracts or certificates issued to you.



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Endorsement to Your TIAA Certificate



TIAA reserves the right in the future to increase or decrease the threshold dollar amount
associated with this provision. However, the threshold amount will never be less than $100,000.
If, as of the effective date of such a change in the threshold amount, the total value of your Real
Estate Account accumulation under this certificate and any other TIAA annuity contract or
certificate issued to you already exceeds the new threshold amount, you will not be required to
reduce such accumulation to a level at or below the new threshold. TIAA also reserves the right
in the future to include among the restricted transactions any of the categories currently
excluded above or to include any categories of transactions associated with services that may be
introduced in the future. Any such future changes will only affect transactions with effective
dates on or after the effective date of such change. You will be given at least two months
advance written notice of any such change.

Nothing in this endorsement shall be construed to limit TIAA’s right to stop accepting premiums
and/or internal transfers at any time.




                                                                        President and
                                                                    Chief Executive Officer




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                   Teachers Insurance and Annuity Association of America
                        730 Third Avenue, New York, NY 10017-3206
                                 Telephone: 800-842-2733
                        Endorsement to your Deferred Annuity Certificate

                                Effective Date: Attached at issue

Please read this endorsement and attach it to your certificate. This endorsement
changes your certificate and becomes part of it. It does not take away any of the rights
established under your certificate.

The purpose of this endorsement is to change your certificate to allow for
accumulations under Roth 401(k) and Roth 403(b) plans.

The following provision is added to your certificate:
Roth Accounting. Notwithstanding any other provision in your certificate, all
amounts added to or deducted from your accumulation will be accounted for separately
to the extent required by IRC Section 402A, or any successor section governing Roth
401(k) and/or Roth 403(b) amounts. If there is a change in IRC Section 402A, this
provision shall be construed as referring to such section as changed.

The Right to a Tax-Free Rollover provision is replaced with the following:
Right to a Tax-Free Rollover. If you or your surviving spouse (or your spouse         or
former spouse as an alternate payee under a "qualified domestic relations order,"     as
defined in the IRC) receive a distribution from your certificate which qualifies as   an
eligible rollover distribution under IRC Section 402(c)(4), any portion of it may     be
paid as a direct rollover to an eligible retirement plan.
An eligible retirement plan is, to the extent permitted by law:
       for accumulations accounted for as Roth 401(k) or Roth 403(b) accumulations,
           a plan satisfying the requirements of IRC Section 402A(c)(3)(A); and
       for all other accumulations,
           a plan satisfying the requirements of IRC Section 401(a), 403(a), 403(b),
           408, or to the extent that the plan sponsor is a state or local government,
           Section 457(b).

Retirement plans eligible for such rollovers may, in the future, be changed by law. If
such changes become effective, your certificate will be governed by the laws and
regulations then applicable.




  Vice President and                                       Chairman, President and
  Corporate Secretary                                      Chief Executive Officer




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                                     College Retirement Equities Fund
                              730 Third Avenue, New York, N.Y. 10017-3206
                                        Telephone: 800-842-2733

                  Group Supplemental Retirement Unit-Annuity Certificate

Participant:     Vellali, Joseph F
Certificate Number:            96E-2
Date of Issue:    05 01 2008

This is to certify that you, as the owner (participant), of this certificate are entitled to participate in
the benefits of College Retirement Equities Fund (CREF) under the provisions of a Group
Supplemental Retirement Annuity Contract issued to your employer, the contractholder. PLEASE
READ YOUR CERTIFICATE. IT IS IMPORTANT.
                                          GENERAL DESCRIPTION
All premiums for this certificate must be remitted under the terms of your employer plan. You may
allocate your CREF premiums to one or more of the CREF accounts described in your certificate.
Each premium allocated to a CREF account purchases a number of accumulation units representing
your share in the CREF account. Accumulations in CREF accounts are not guaranteed and may
increase or decrease depending primarily on investment results. Your rights under this certificate
are subject to the vesting provisions of your employer plan.
You may, in accordance with the terms of your employer plan, convert your accumulation units to an
income of annuity units in one or more of the CREF accounts. When you are ready to start receiving
your income, you may, in accordance with the terms of your employer plan, choose an option from
among those described in your certificate. If you die before you start receiving your income, your
accumulation will provide a death benefit for your beneficiary.
In accordance with the terms of your employer plan, you may withdraw all or part of your
accumulation before starting to receive income and you may transfer all or part of your accumulation
among the CREF accounts or to your companion TIAA certificate.

30-Day Right to Examine Your Certificate. You have 30 days from the day you receive this
certificate to examine it and to cancel it if you decide not to keep it. If you decide to cancel this
certificate, send it and your request to CREF at the address shown above. Upon receipt of such
request, CREF will refund the accumulated value of all premiums as of the date you mailed or
delivered your request to us, plus premium taxes (if any) deducted from premiums paid. As of that
date, this certificate will then be void and no benefits will be provided under it. If this certificate was
issued as a result of a transfer from another contract or certificate issued by TIAA or CREF, the
refund will be reinstated in such contract or certificate as of the date of cancellation.
This certificate does not guarantee any fixed-dollar benefits. It cannot be assigned and it does not
provide for loans.

If you have any questions about your
certificate or need help to resolve a
problem, you can contact us at the
address or phone number above.                                             President and Chief
                                                                           Executive Officer



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                                         Deferred Variable Unit-Annuity
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Your CREF Group Supplemental Retirement Unit-Annuity Certificate

                                         PART A: PARTICIPANT DATA

Participant:     Vellali, Joseph F
Social Security Number:       ON FILE
Date of Birth:             1960
Issue Date:      05 01 2008
Annuity Starting Date:      04 01 2025


Certificate Number:           96E-2
Companion TIAA Certificate Number:             96E-4
Contractholder:      YALE UNIVERSITY
Group Supplemental Retirement Unit-Annuity Contract No:             1001




The Contract under which this Certificate was issued was made and delivered in the State of
New York. The validity and effect of all rights and duties under the Contract are governed by
the laws there in force.




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                        COLLEGE RETIREMENT EQUITIES FUND
                                           (CREF)
                        730 Third Avenue, New York, N.Y. 10017-3206
                                  Telephone: 800-842-2733

                    Endorsement to Your CREF Deferred Annuity Certificate

                                    Effective Date: April 24, 2015

This endorsement amends and is part of your certificate       96E2 with CREF.

In accordance with the CREF Rules of the Fund, as of the effective date of this endorsement, each
CREF Account has multiple expense classes (“class”). Such class or classes under which any CREF
contract or certificate participates within each CREF Account is determined in accordance with
criteria established by CREF and is governed by the CREF Rules of the Fund.

The accumulation under your certificate is currently assigned to class R3.




Annuity units under all CREF payout annuities are currently assigned to class R3.

Accumulation unit value(s) and annuity unit value(s) of an Account are determined by your assigned
class(es).

CREF reserves the right to change the class with which the value of any accumulation units and/or
annuity units under this certificate is associated.



                                                                   President and
                                                               Chief Executive Officer




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                         COLLEGE RETIREMENT EQUITIES FUND
                                           (CREF)
                         730 Third Avenue, New York, N.Y. 10017-3206
                                   Telephone: 800-842-2733

             Endorsement to Your CREF Group Deferred Unit-Annuity Certificate


                    Effective Date: Later of Date of Issue or December 29, 2011



This endorsement is part of your certificate with CREF. Please read this endorsement and attach it
to your certificate.


Your certificate is modified as follows:

Notwithstanding any other provision in your certificate, no transaction available to you may be made
effective on a day that is not a business day, except as follows: when a business day is the last day of
a calendar month, annuity income payments and annuity death benefit payment methods may begin
on the next day even when it is a non-business day.




                                                                     President and
                                                                 Chief Executive Officer




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                            College Retirement Equities Fund
                       730 Third Avenue, New York, NY 10017-3206
                                 Telephone: 800-842-2733

                  Endorsement to your Deferred Unit-Annuity Certificate

                             Effective Date: Attached at issue

Please read this endorsement and attach it to your certificate. The purpose of this
endorsement is to clarify the provisions of your certificate pertaining to the payment of
death benefits. It does not take away any of the rights established under your certificate.

The value of any death benefit payments made under your certificate will be determined, in
accordance with the Rules of the Fund, based on the value of the accumulation units to be
paid, or converted to a unit-annuity, as of the date such payment or conversion is to be
effective.




                                                                 President and
                                                             Chief Executive Officer




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                          College Retirement Equities Fund
                     730 Third Avenue, New York, NY 10017-3206
                               Telephone: 800-842-2733

               Endorsement to your Deferred Unit-Annuity Certificate

                             Effective Date: Attached at issue

Please read this endorsement and attach it to your certificate. This endorsement
changes your certificate and becomes part of it. It does not take away any of the rights
established under your certificate.

The purpose of this endorsement is to change your certificate to allow for
accumulations under Roth 401(k) and Roth 403(b) plans.

The following provision is added to your certificate:
Roth Accounting. Notwithstanding any other provision in your certificate, all
amounts added to or deducted from your accumulation will be accounted for separately
to the extent required by IRC Section 402A, or any successor section governing Roth
401(k) and/or Roth 403(b) amounts. If there is a change in IRC Section 402A, this
provision shall be construed as referring to such section as changed.

The Right to a Tax-Free Rollover provision is replaced with the following:
Right to a Tax-Free Rollover. If you or your surviving spouse (or your spouse         or
former spouse as an alternate payee under a "qualified domestic relations order,"     as
defined in the IRC) receive a distribution from your certificate which qualifies as   an
eligible rollover distribution under IRC Section 402(c)(4), any portion of it may     be
paid as a direct rollover to an eligible retirement plan.
An eligible retirement plan is, to the extent permitted by law:
        for accumulations accounted for as Roth 401(k) or Roth 403(b) accumulations,
              a plan satisfying the requirements of IRC Section 402A(c)(3)(A); and
        for all other accumulations,
              a plan satisfying the requirements of IRC Section 401(a), 403(a), 403(b),
              408, or to the extent that the plan sponsor is a state or local government,
              Section 457(b).
Retirement plans eligible for such rollovers may, in the future, be changed by law. If
such changes become effective, your certificate will be governed by the laws and
regulations then applicable.



                                                  President and
                                                  Chief Executive Officer




CREF-ROTH-GRP-END
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                  COLLEGE RETIREMENT EQUITIES FUND
                         RULES OF THE FUND
                                    Effective as of May 1, 2016

 Note to participants: CREF’s rules of the fund (also referred to as the rules for determining
 benefits) include general descriptions as well as the necessarily technical matters and formulas
 used in the calculation of your CREF benefits. The Board of Trustees of CREF has established
 these rules and procedures, and may amend and add to them from time to time, to carry out the
 provisions of the contracts and certificates and to govern all matters affecting the interest of
 anyone participating in CREF to the extent such matters are not specifically provided for in the
 contracts and certificates. These rules and any changes to them are effective only when approved
 by the Superintendent of Financial Services of the State of New York (the “Department”) as not
 being unfair, unjust, inequitable or prejudicial to the interest of anyone participating in CREF.
 These rules have been worked out with great care to assure equitable treatment among
 participants. This printing of the rules contains amendments as adopted by the Board of Trustees
 and approved by the Superintendent of Financial Services of the State of New York.

       The rules of the fund concern only the methods of calculating the amounts of benefits. The
 various benefit options are described in your CREF contract or certificate.


               PART I. GENERAL DESCRIPTION OF THE CREF ANNUITY

       A life annuity is a financial instrument that enables you to maximize the amount of periodic
 income you can get from your retirement savings, while insuring that you will never outlive those
 savings. Without annuities, you can only be certain that you won’t outlive your retirement savings
 if you live only on the income earned by your savings, keeping your investments intact. If you
 take regular withdrawals that exceed your investment income, you risk exhausting your retirement
 savings while you are still alive and in need of retirement income.

        The annuity mechanism enables you to maximize your payment amounts by distributing
 both investment income and a portion of the investment with each periodic payment. An annuity
 company can do this by pooling the retirement savings for all annuitants into one large fund from
 which annuity payments are made. The annuity payments are calculated so that each recipient gets
 the largest amount that the company can pay without exceeding the fund. This is possible through
 the use of mortality tables developed from the experience of many years. The company doesn’t
 know which individuals will live through each year, but it does know about how many will live.
 It can therefore provide a lifetime income to each annuitant that will be greater than the
 investment income alone.

       CREF provides variable annuities to its participants through eight different investment
 accounts. CREF has three expense classes, which apply to each of the eight accounts. An
 expense class within CREF is referred to as a CREF Expense Class (“Expense Class”) , and an
 Expense Class within a particular account is referred to as a CREF Account Class (“Account
 Class”). We refer to these classes as Account Class 1, Account Class 2, and Account Class 3 in
 this document. Premiums contributed to CREF buy accumulation units, which are similar to

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CREF’s Rules of the Fund

shares in a mutual fund. The value of each Account Class’s accumulation unit changes over time
reflecting the investment experience (dividend and interest income, plus capital gains and losses) and
expenses of the Account Class. Capital gains and losses include all changes in market values,
whether realized from the sale of assets or unrealized.

      Unlike TIAA, where the guaranteed life income from an annuity is a specified number of
dollars per payment period, in CREF the life income is a specified number of annuity units per
payment period. When participants are ready to begin receiving annuity income, their accumulation
units are converted into annuity units of equal total value. Lifetime income under a CREF variable
annuity is paid as the current value of a specified number of annuity units. Payments are determined
under one of two income change methods. Under the annual income change method, the amount of
each payment is determined once each year, so that the payments remain level for one year intervals.
Under the monthly income change method, the amount of each payment is determined every month,
so that the amount may change every month.

      Separate annuity units are maintained for each income change method within each Account
Class that offers unit-annuities. The initial determination of the number of annuity units each
annuitant will receive is based on assumptions about investment return, expenses and mortality. The
value of an annuity unit changes over time to reflect differences in the actual experience of the
Account Class from each of the assumptions.

       For example, if actual mortality experience matches that which was expected, and actual
investment experience less expenses exceeds the assumed 4% effective annual rate of investment
return, the value of an annuity unit will generally increase, while if actual investment experience less
expenses falls short of the assumed 4% effective annual rate of investment return, the value of an
annuity unit will generally decrease.

      Each account has a different investment objective, so the unit values and the changes in unit
values for the Account Classes in one account will not necessarily be similar to the unit values or
changes in unit values for the Account Classes of another account. Within each Account Class, the
values of the accumulation units and annuity units (if any) will usually be different from each other.

      Some Account Classes offer unit-annuities. Separate funds are maintained in each Account
Class that offers unit-annuities. The accounts, the funds, and the different kinds of units are
described in the next sections.

                            PART II. INVESTMENT ACCOUNTS

 CREF has established the following investment accounts:

             the CREF Stock Account -- a broadly diversified portfolio consisting primarily of
             common stocks;
             the CREF Global Equities Account -- a broadly diversified portfolio consisting
             primarily of foreign and domestic common stocks;
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CREF’s Rules of the Fund

             the CREF Equity Index Account -- a portfolio consisting primarily of domestic
             common stocks selected to track the overall U.S. stock market;

             the CREF Growth Account -- a portfolio consisting primarily of common stocks that
             we believe present the opportunity for exceptional growth;

             the CREF Social Choice Account -- a portfolio consisting primarily of common
             stocks, investment grade fixed-income securities and short-term debt securities;

             the CREF Money Market Account -- a portfolio consisting primarily of short-term
             debt securities and money market instruments;

             the CREF Bond Market Account -- a portfolio consisting primarily of investment
             grade fixed-income securities;

             the CREF Inflation-Linked Bond Account -- a portfolio consisting primarily of
             inflation-indexed bonds issued by the U.S. Government and its agencies, corporate
             entities, and foreign governments.


        Some CREF contracts and certificates may limit the accounts available for use under the
contract/certificate. A retirement plan may limit pre-retirement participation in any account for
premiums remitted under that plan. However, under the following CREF contracts and certificates, a
retirement plan may not limit participation in the CREF Stock Account and the CREF Money
Market Account: Retirement Unit-Annuity, Supplemental Retirement Unit-Annuity, Group
Retirement Unit-Annuity, Group Supplemental Retirement Unit-Annuity, and Keogh Group
Retirement Unit-Annuity. CREF may restrict certain classes of contracts and/or certificates from
participating in the Inflation-Linked Bond Account.

       CREF may delete or may stop providing unit-annuities from any account except the CREF
Stock Account and the CREF Money Market Account. CREF may also stop providing
unit-annuities under either income change method from any account.

        CREF has three Expenses Classes. The Expense Class(es) associated with a contract or
certificate is shown on the contract, certificate, or on an Endorsement thereto.

        Effective April 24, 2015, any then-existing CREF accumulation units and annuity units
within any CREF account were designated as participating in an Expense Class. Expense
calculations made for any period on and after April 24, 2015 do not impact accumulation unit values
or annuity unit values in effect prior to April 24, 2015.

       The Expense Class or Classes under which any CREF contract or certificate participates
within CREF is determined in accordance with eligibility criteria established by CREF as follows.

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CREF’s Rules of the Fund

Determination of Expense Class Eligibility

Accumulations: Institutions
Employer sponsored arrangements, as determined by CREF (“Institutions”), are in the following
Expense Classes:

      Expense Class 1:          Institutions with CREF assets under management below $20 million.

      Expense Class 2:          Institutions with CREF assets under management of $20 million or
                                more, but less than $400 million.

      Expense Class 3:          Institutions with CREF assets under management of $400 million or
                                more.

Accumulations: Other
For all other accumulations, the Expense Class for each product is determined based on the
following. Such products include IRAs. Keoghs, After-Tax Retirement Annuities, deposit contracts
issued in settlement of death proceeds, and any other contracts not being used as
employer-sponsored plan accumulation funding vehicles (each a “Product”):

          (1) CREF will determine the administrative expenses and the distribution expenses,
          associated with total CREF assets, separately for each Product;

          (2) For each Product, CREF will determine the ratio of administrative expenses to total
          CREF assets under management and the ratio of distribution expenses to total CREF assets
          under management;

          (3) For each Expense Class shown above, CREF will determine the ratio of administrative
          expenses to CREF assets under management in the Expense Class and the ratio of
          distribution expenses to CREF assets under management in the Expense Class;

          (4) The Expense Class for each Product is the Expense Class whose combined administrative
          and distribution expense ratios associated with total CREF assets in such Expense Class is
          closest to such Product’s combined administrative and distribution expense ratios. This will
          generally result in a Product being assigned to the less expensive of the two Expense Classes
          between which its combined administrative and distribution expense ratios fall, unless such
          assignment would under the circumstances result in an undue financial impact on the
          Expense Class as a whole. Investment performance alone will not result in the reassignment
          of a Product to a more expensive Expense Class.

For purposes of this determination, each Product shall be considered separately or, subject to the
Department’s approval, combined with one or more other Products. The total amount of
administrative expenses and the total amount of distribution expenses shall also be separately
determined in accordance with the corporate methodology for allocating CREF expenses. Any

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CREF’s Rules of the Fund

change to such methodology will preserve the principles of classification and fairness established by
the eligibilitycriteria described above. Administrative and distribution expenses are proportionately
allocated among the Expense Classes and Products based on actual utilization of services and costs,
by Institutions and Products and in accordance with the CREF administrative and distribution
services agreements.

Annuity Units

The Expense Class(es) for Annuity Units shall be determined similarly to the determination of
Expense Classes for “Accumulations: Other”, described above.

                                        ******************

        There may be exceptions to these classifications provided there is a sound actuarial basis for
such exceptions and there is no unfair discrimination under applicable law. Such exceptions may
include an Institution’s decision to reject their reclassification from a more expensive Expense Class
to a less expensive Expense Class subsequent to its initial Expense Class designation. Such rejection
shall not be permitted in connection with an Institution’s initial Expense Class determination.

        CREF may adopt reasonable guidelines, interpretations, and procedures applicable to Part II
that are not inconsistent with these rules and which preserve the principles of classification and
fairness established by the eligibility criteria described above. Such guidelines, interpretations, and
procedures include, for example, the frequency of class eligibility review and the definition of an
“Institution” for the purposes of assignment of such Institution to an Expense Class.

         CREF may add, delete, or modify one or more Expense Classes or may stop providing
unit-annuities from one or more Expense Classes. Expense Class eligibilitycriteria may be changed
by CREF. Any such additions to, deletions of, or modifications to the Expense Classes, and any such
changes to the criteria, will be subject to approval of the Department. Changes to the Expense Class
eligibilitycriteria may result in transfers of existing accumulations and/or annuity units to a different
Expense Class.

         Expense Class qualification will be reviewed at least annually by CREF. As a result, the
applicable Expense Class for accumulations and/or annuity units may change.


Investment Management, Administration, Distribution, and other Expenses; Charges
Each Valuation Day, CREF deducts charges from the net assets of each Account for the expenses of
investment management, administration, distribution, and other expenses and services. TIAA or
subsidiaries of TIAA provide or arrange for the provision of these services for CREF “at cost” to
TIAA and its affiliates.




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CREF’s Rules of the Fund

          1.   Investment Management Expenses. These expenses generally include investment
               management, portfolio accounting and custodial services. This charge does not vary
               by Expense Class.
          2.   Administrative Expenses. These expenses cover the costs of administration and
               operations of CREF and the contracts. Administrative expenses include certain costs
               associated with the provision by TIAA entities of recordkeeping and other services
               for products utilizing CREF Accounts. A portion of these expenses is allocated to
               CREF in accordance with applicable allocation procedures.
          3.   Distribution Expenses. These expenses generally include the costs of solicitation,
               distribution, providing information, and rendering assistance and other services to
               contract owners and employers.

The preceding expenses also include the costs of audit, legal and certain other services provided by
third parties.

Data supporting the above expenses are obtained from CREF’s accounting and financial reporting
systems, and are reviewed by the appropriate administrative departments. CREF expenses are
regularly reviewed during the year, and are updated and approved by Management and the CREF
Board of Trustees at least annually.

The total amount of investment management expenses is separately determined. The ratio of such
amount to total assets under management is then allocated among the Expense Classes equally (i.e.,
same percentage charge), rather than on the basis of actual utilization of services and costs
associated with a particular Expense Class, and in accordance with the investment management
agreement.

The total amount of administrative expenses and the total amount of distribution expenses are also
separately determined in accordance with CREF’s corporate methodology for allocating expenses.
Administrative and distribution expenses are proportionately allocated among the Expense Classes
and Products based on actual utilization of services and costs, by Institutions and Products and in
accordance with the CREF administrative and distribution services agreements.

Mortality and Expense Charge

Each Valuation Day, CREF also deducts a mortality and expense risk charge to guarantee that
contract owners transferring funds to TIAA for the immediate purchase of lifetime payout annuities
will not be charged more than the rate stipulated in the contract. This charge does not vary by
Expense Class (i.e., same percentage charge).




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CREF’s Rules of the Fund

                                        PART III. FUNDS

        Each Account Class currently maintains an accumulation fund. In addition, each Account
Class may offer unit-annuities under either or both income change methods and include one or two
annuity funds. Unit-annuities are not currently offered under all classes in any account. For each
Account Class, the accumulation fund equals the portion of the Account Class’s total net assets
allocated to participants in the accumulation period. The annuity fund for each income change
method in each Account Class that offers unit-annuities equals the portion of the Account Class’s
total net assets allocated to participants receiving annuity benefits payable under that income change
method. There is no segregation of individual assets within an Account Class; however, a liabilityis
maintained for each fund. An Account Class’s total net assets are A) the value of the Account
Class’s total assets less B) the value of the Account Class’s total liabilitiesexcluding that Account
Class’s accumulation fund and annuity funds, if any. If, at any time, there are no remaining
participants or beneficiariesreceiving annuity benefits from an annuity fund in an Account Class the
net assets of that fund will be transferred to that Account Class’s accumulation fund.

      A "period" is the time from the end of one valuation day to the end of the next valuation day.
A "valuation day" is any day that the New York Stock Exchange is open for trading. Valuation days
end as of the close of all United States national exchanges where securities or other investments of
CREF are principally traded.

      The value of each Account Class’saccumulation fund and each Account Class’s annuity funds,
if any, at the end of a valuation day equals the corresponding value at the end of the previous
valuation day, increased by amounts added to each fund during the current period and reduced by
amounts withdrawn from each fund during the current period. These changes include the increase by
the allocated portion of the current period’s net investment income and capital gains and the
decrease by the allocated portion of the current period’s capital losses. This allocated portion is
determined in accordance with the respective proportions of the Account Class’s accumulation fund
and annuity funds as of the end of the previous valuation day as adjusted for additions to and
withdrawals from each fund as of the beginning of the current period.

      The periodic total yield rate for an Account Class is based on the amount of dividends, interest
and other income accrued and allocated to that Account Class during the current period, a deduction
of expense charges, and both realized and unrealized capital gains and losses allocated to that
Account Class during the current period. The precise formula for the rate is C minus 1, where C is A
divided by B, and A and B are as follows:

      A. The Account Class’s accumulation unit value as of the end of the valuation day at the end
         of the period.

      B. The Account Class’s accumulation unit value as of the end of the prior valuation day.




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CREF’s Rules of the Fund

EXPENSES

      The investment advisory expense charges, the operating expense charges, and the mortality
and expense risk charges are established by the Board of Trustees of CREF, and may be changed
from time to time, but any changes in these charges become effective only when approved by the
Superintendent of FinancialServices of the State of New York. Each participant receives a schedule
of the current charges.

       Note: The current charges were established as of May 1, 2016. These charges are assessed
each calendar day at a rate equal to the following percentages divided by 365, or by 366 during leap
years.

             Administrative Expense Charge:

                  -- For Expense Class 1 (also called “R1”) within each account, 0.395% of the
             Account Class’s net assets.
                  -- For Expense Class 2 (also called “R2”) within each account, 0.245% of the
             Account Class’s net assets.
                  -- For Expense Class 3 (also called “R3”) within each account, 0.165% of the
             Account Class’s net assets.


             Distribution Expense Charge:

                   -- For Expense Class 1 within each account, 0.165% of the Account Class’s net
             assets.
                   -- For Expense Class 2 within each account, 0.090% of the Account Class’s net
             assets.
                   -- For Expense Class 3 within each account, 0.060% of the Account Class’s net
             assets.


             Mortality and Expense Risk Charge - 0.005% of each Account Class’s net assets.

             Investment Advisory Expense Charge -

             For each Account Class:
                   0.150% of the CREF Stock Account’s net assets in the Account Class;

                  0.140% of the CREF Global Equities Account’s net assets in the Account Class;

                  0.025% of the CREF Equity Index Account’s net assets in the Account Class;



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                   0.080% of the CREF Growth Account’s net assets in the Account Class;

                  0.085% of the CREF Social Choice Account’s net assets in the Account Class;

                  0.040% of the CREF Money Market Account’s net assets in the Account Class;

                  0.115% of the CREF Bond Market Account’s net assets in the Account Class;

                  0.045% of the CREF Inflation-Linked Bond Account’s net assets in the Account
                  Class.

      Without limiting the powers of the Board of Trustees, it is the established policy to maintain
an approximate balance between the cumulative total of expense charges and the cumulative total of
CREF’s expenses as determined by cost analyses. Accordingly, at the end of each calendar quarter,
or as soon as practicable thereafter, any difference between the expense charges and CREF’s actual
expenses is repaid by equal daily installments through the end of the next calendar quarter, provided
that material differences may be repaid in the current calendar quarter, in accordance with generally
accepted accounting principles. It is also the policy that changes in the stated expense charge rates
are made as infrequently as practicable, consistent with the policy of maintaining the approximate
balance referred to above.

     Each participant’sshare in the accumulation funds is expressed in terms of accumulation units,
and each participant’s share in each of the annuity funds is expressed in terms of annuity units
payable at stated intervals under a specified income change method.


                             PART IV. ACCUMULATION UNITS

       All payments by participants and their employers to CREF accumulating annuities buy
accumulation units in one or more of the Account Classes. The dollar value of each such unit varies
from valuation day to valuation day in accordance with the change in the value of the accumulation
fund for that Account Class relative to the change in the number of accumulation units outstanding
in that Account Class.

       The dates at which all amounts credited to a participant commence or cease to participate in
the accumulation fund, in the absence of specific provisions in the participant’s contract or
certificate, are determined by CREF in accordance with established rules.

       For accumulation units purchased by premiums remitted under a retirement plan, the plan may
limit: withdrawals, availabilityof the unit-annuity for a fixed period, participation in accounts, to the
extent described above, and transfers to a funding vehicle not offered by CREF or TIAA.




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VALUE OF ONE ACCUMULATION UNIT

       The value of each Account Class’saccumulation unit as of the end of each valuation day will be
determined by dividing A) the value of the Account Class’s accumulation fund as of the end of the
valuation day by B) the total number of accumulation units held by all participants in that Account
Class as of the end of the valuation day. The value of the Account Class’s accumulation fund and the
total number of accumulation units does not include the impact of funds or units added or subtracted
as a result of transactions effective as of that valuation day.


TOTAL NUMBER OF ACCUMULATION UNITS CREDITED TO A PARTICIPANT AT
THE END OF ANY PERIOD

       At the end of any valuation day, the total number of accumulation units credited to a
participant may be determined by taking the number of accumulation units to the participant’scredit
at the end of the previous period and adding the number of units purchased by premiums or transfers
during the period and subtracting the number of units transferred, withdrawn or converted into
annuity units during the period. The number of accumulation units so added or subtracted will be
based on the accumulation unit value determined at the end of the period.


                                  PART V. ANNUITY UNITS

At the time annuity payments are to begin for a participant (or for the beneficiary in the event the
participant has died), the value of the accumulation units held by the participant in each Account
Class is converted into a promise to pay, periodically, the then current value of a number of annuity
units in an Account Class that offers unit-annuities. Unit-annuities are not currently offered under all
Account Classes. Accordingly, upon conversion, accumulations in Account Classes not offering
unit-annuities must be converted to annuity units in an Account Class that offers unit-annuities. The
number of annuity units established on conversion is, in general, obtained by dividing the value of the
participant’saccumulation units at that time by the actuarial present value of an annuity of the value
of one annuity unit at that time. Such present values are calculated based on the annuity unit value
for the Account Class from which the unit-annuity is to be paid.

     The dates at which participants commence or cease to participate in the annuity funds, in the
absence of specific provisions in the participant’scontract or certificate, are determined by CREF in
accordance with established rules.

      The rules stated in the following paragraphs refer only to annuities paid on a monthly basis. For
annuities paid on a frequency other than monthly, appropriate actuarial adjustments are made.




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      HOW UNIT-ANNUITY PAYMENTS ARE DETERMINED

     The amount of each annuity payment is determined by multiplyingthe number of annuity units
payable by the value of one annuity unit as of the payment valuation date for the income change
method selected.

         Under the annual income change method, the amount of each payment is revalued once
each year. The payment valuation date for the annual income change method is the last valuation day
in March, with the subsequent payment changes effective on May 1. For participants beginning
annuity income, the initial value of the annuity unit is the interim annuity unit value for the annual
income change method as of the end of the day on which the accumulation units are converted into
annuity units.

         Under the monthly income change method, the amount of each payment is revalued every
month. The payment valuation date for the monthly income change method is the twentieth day of a
month (or if the twentieth is not a valuation day, the prior valuation day) for payments due on the
first day of the following month. For participants beginning annuity income, the initial value of the
annuity unit is the interim annuity unit value for the monthly income change method as of the end of
the day on which the accumulation units are converted into annuity units.

       The value of an annuity unit is defined in terms of a basic annuity unit that is established as of
the last valuation day in March of each year, for each income change method offered in each
Account Class providing unit-annuities. The value of the interim annuity unit for each income change
method offered in each such Account Class is set equal to the value of the basic annuity unit on the
last valuation day in March, and is redetermined as of each subsequent valuation day.
         Beginning Income: The following example illustrates how the number of annuity units is
calculated for a participant who elects a single life annuity from the CREF Stock Account, payable
monthly under the annual income change method.




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         Transferring: Some CREF contracts and certificates allow annuitants to transfer annuity
units from an account to any other account then offering unit-annuities under the same income
change method and Expense Class. The resulting number of annuity units payable from an Account
Class to which annuity units are transferred will be obtained by multiplying the number of annuity
units transferred out of the originating Account Class by the interim annuity unit value for that
income change method in the originating Account Class, and dividing the result by the interim
annuity unit value for the same income change method and Expense Class in the account to which
the units are being transferred. Participation in the experience of the accounts changes as of the
transfer’s effective date. The amount of each unit-annuity payment will change when the payments
are revalued on the next payment valuation date that is on or after the transfer’s effective date.

          For example, if annuity units payable under the annual income change method are
transferred on September 1, the unit-annuity payments will be revalued on the next payment
valuation date for the annual income change method (the last valuation day in March) ,and the new
payment amount will begin with payments beginning on the following May 1.

         If annuity units payable under the monthly income change method are transferred on the
fifteenth day of a month, the unit-annuity payment will be revalued on the twentieth day of that
month (or the prior valuation day if the twentieth is not a valuation day, which is the payment
valuation date for the monthly income change method), and the change in payment will occur for the
unit-annuity payment due on the first day of the next month.

     The following example illustrates a transfer of annuity units payable under the annual income
change method from the CREF Stock Account to the CREF Bond Market Account.




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      If accumulation units are purchased by premiums received on behalf of a participant within 70
days after a participant begins annuity payments, they may be converted into annuity units under the
same annuity income option. Accumulation units will be converted into annuity units using the same
methods and values used for other accumulation units being converted into annuity units on that
date. Payments from the additional annuity units purchased under either income change method will
begin with the next payment due after the payment valuation date for the monthly income change
method which is on or after the conversion date.


VALUE OF ONE ANNUITY UNIT
          Interim Annuity Unit Values: Separate annuity units are maintained for each of the
income change methods within each Account Class providing unit-annuities . The value of an
annuity unit is defined in terms of a basic annuity unit that is established as of the last valuation day
in March of each year, for each income change method offered in each Account Class providing
unit-annuities. The value of the interim annuity unit for each income change method offered in an
Account Class is set equal to the value of the basic annuity unit on the last valuation day in March.
The interim annuity unit value for an income change method under an Account Class as of any
other valuation day is equal to the most recently determined basic annuity unit value for that income
change method under that Account Class multiplied by A and divided by B, then modified by C and
D, as follows:
      A.     The value of $1 accumulated at the Account Class’s periodic total yield rates from the
             end of the last valuation day of the preceding March, through the current valuation day.

      B.     The value of $1 accumulated with interest at the effective rate of 4% from the end of the
             last valuation day of the preceding March, through the current valuation day.

      C.     An adjustment to reflect that annuity income amounts are redetermined only on the
             payment valuation date for that income change method. The purpose of the adjustment
             is to equitably apportion the annuity fund’s assets between annuitants who participated
             in the annuity fund for the entire period between two payment valuation dates for that
             income change method, and those who enter or leave the fund during that period.




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      D.     An adjustment to reflect year-to-date mortality experience, determined as of the
             respective last valuation days of each June, September, and December.
         Basic Annuity Unit Values: The value of one basic annuity unit payable under each
income change method in each Account Class providing unit-annuities was initiallyset to $10.00 and
has been subsequently revalued as described below.

       The value of an Account Class’s basic annuity unit for each income change method is revalued
on the last valuation day of each March by dividing the annuity fund for the income change method
in that Account Class less the present value of all annuity benefits that are payable under that income
change method on April 1 under annuity contracts and certificates in force on the last valuation day
in March, by the discounted actuarial present value of the total number of that Account Class’s
annuity units that are payable on May 1 and thereafter over the future lifetimes (and for fixed
periods) of all participants receiving annuity payments under that income change method as of the
last valuation day in March, in accordance with specified assumptions as to mortality and net
investment income.




      The precise actuarial formula for the value of the basic annuity unit for each income change
method in an Account Class, as recalculated as of the last valuation day in any March, is A divided
by B, as follows:

      A.     The Account Class’s annuity fund for the income change method as of such last
             valuation day in March, reduced by the present value of the benefits payable under that
             income change method on April 1 to annuitants in force on such last valuation day in
             March.

      B.     The present value of the sum, for all annuitants in the Account Class as of such last
             valuation day in March, of the product of (i) multiplied by (ii) where:

              (i) is the number of annuity units payable under that income change method each
              month, and

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             (ii) is the actuarial present value on March 31 of an annuity of $1 per month, with
             payments beginning on May 1 and continuing while such annuity units are payable.

The present values as described above will be calculated on the basis of interest at the effective
annual rate of 4%. The actuarial present values described above will be calculated on the basis of
interest at the effective annual rate of 4% and mortality according to the CREF Progressive
Annuitant Mortality Table, a merged gender table initiallyderived from CREF mortality experience
through 2011 and updated annually thereafter as necessary to incorporate CREF’s most recently
available mortality experience. This basis was phased in over three annual valuation cycles, on the
last valuation days in March 2013, 2014 and 2015.


DETERMINATION OF THE NUMBER OF ANNUITY UNITS FOR A PARTICIPANT

      The number of annuity units payable to an annuitant under an income change method from an
Account Class will be modified by the number of units purchased by converting accumulation units
into annuity units and by transfers or switches. The number of annuity units so added or subtracted
will be based on the formulas described below. If a participant requests a transfer and a switch on
the same effective date, the transfer will be processed first. The right of a participant, second
participant, or beneficiary to transfer among CREF accounts, to transfer between a CREF contract
or certificate and a comparable TIAA contract, or to switch between income change methods is
determined by the terms of the CREF contract/certificate and the TIAA contract.

         Beginning Income: When accumulation units are converted into annuity units, the number
of annuity units is determined by actuarial methods which take into account the value of the
accumulation units being converted, the income option chosen, the mortality table used for
participants in the annuity funds, and interest at the effective rate of 4% per year.

      The precise actuarial formula for the number of annuity units obtained as a result of converting
accumulation units to annuity units payable from an Account Class under an income change method,
is A divided by B, as follows:

      A.     The value of the accumulation units being converted into annuity units as of the
             conversion date.

      B.     The product of (i) multiplied by (ii) as follows:

                (i)   The actuarial present value of an annuity due of $1 per month payable for as
                      long as such annuity units are payable, calculated on the basis of interest at
                      the effective annual rate of 4% and mortality according to the CREF
                      Progressive Annuitant Mortality Table, a merged gender table initially
                      derived from CREF mortality experience through 2011 and updated annually
                      thereafter as necessary to incorporate CREF’s most recently available


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                   mortality experience. This basis was phased in over three annual valuation cycles,
                   on the last valuation days in March 2013, 2014 and 2015.

              (ii) The Account Class’s interim annuity unit value for the income change method as
                   of the conversion date.


           Transferring between CREF Accounts:

       When a participant or beneficiary receiving annuity benefits transfers annuity units from one
CREF account to another CREF account, the Expense Class will remain the same. The number of
annuity units in the CREF account transferred to will be determined by multiplying A by B and
dividing by C, as follows:

      A.     The number of annuity units to be transferred from the Account Class.

      B.     The interim annuity unit value, determined on the transfer date, for the income change
             method in the Account Class from which the annuity units are being transferred.

      C.     The interim annuity unit value, determined on the transfer date, for the same income
             change method in the Account Class to which the annuity units are being transferred.

         Transferring from a TIAA Separate Account to a CREF Account: When a participant
or beneficiary receiving annuity benefits transfers annuity units from a TIAA Separate Account to a
companion CREF contract or certificate, the number of annuity units in the CREF account
transferred to is equal to A plus B, all divided by C, as described below.

      A.        if the annuity units being transferred are payable under the annual income change
             method, i) minus ii) as follows:
             i)     the actuarial present value of the monthly payments scheduled to be paid from the
                    new annuity units through the April 1 following the transfer date, determined on
                    the participant’s then-current attained age and the actuarial basis then in use for
                    transfers out of the TIAA Separate Account from which the transfer is being
                    made.

             ii)   the actuarial present value of the payments described in i), determined on the
                   participant’s then-current attained age and the actuarial basis then in use for
                   participants beginning income in CREF.

               if the annuity units being transferred are payable under the monthly income change
             method, zero.




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      B.     the product of i), ii), and iii), as follows:

             i)     the number of annuity units being transferred from the TIAA Separate Account
                    from which the transfer is being made.

             ii)    the interim annuity unit value, determined on the transfer date, for the income
                    change method in the TIAA Separate Account from which the annuity units are
                    being transferred.

             iii)   the actuarial present value of an annuity of $1.00 per period, payable as follows,
                    determined on the participant’s then-current attained age and the actuarial basis
                    then in use for transfers out of the TIAA Separate Account from which the
                    transfer is being made.

                              if the annuity units are payable under the annual income change method,
                    the annuity is payable for as long as such annuity units are payable, beginning with
                    the first payment scheduled after the April 1 following the transfer date.

                              if the annuity units are payable under the monthly income change method,
                    the annuity is payable for as long as such annuity units are payable, beginning with
                    the first payment scheduled from the new units.

      C.     the interim annuity unit value, determined on the transfer date, for the same income
             change method in the Account Class to which the units are being transferred, multiplied
             by the present value of an annuity of $1.00 per period, payable as described in B.iii)
             above, determined on the actuarial basis then in use for participants beginning income in
             CREF.

          Transferring from a TIAA Traditional Annuity to a CREF Account: When a
participant or beneficiary receiving annuity benefits transfers from the TIAA Traditional Annuity to
a companion CREF contract or certificate, the number of annuity units in the Account Class
transferred to is equal to the account value transferred from TIAA (as determined under the terms of
the TIAA contract) divided by the product of A and B, as described below.

      A.     the interim annuity unit value, determined on the transfer date, for the income change
             method in the Account Class to which the units are being transferred.

      B.     the present value of an annuity of $1.00 per month, payable for as long as such annuity
             units are payable, beginning with the first payment scheduled from the new units,
             determined on the basis of interest at the effective annual rate of 4% and the mortality
             basis then in use for participants beginning income in CREF.

         Switching: When a participant receiving annuity benefits under one income change method
switches annuity units to the other income change method within the same Account Class as of
the last valuation day in any March, the number of annuity units payable under the


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             other income change method will be determined by multiplyingA by B and dividing by
             C, as follows:

      A.     The number of annuity units to be switched.

      B.     The basic annuity unit value, determined as of the effective date of the switch, for the
             income change method in the Account Class from which the annuity units are being
             switched.

      C.     The basic annuity unit value, determined as of the effective date of the switch, for the
             other income change method in the same Account Class.


PRESENT VALUES OF UNIT-ANNUITIES

          Commuted Values: Under some CREF contracts and certificates, the present value of a
unit-annuity may be calculated to provide a one-sum payment in lieu of any annuity payments
remaining due to a beneficiary during a guaranteed period, or to an annuitant or beneficiary during
the remainder of a fixed-period unit-annuity. The formula for the present value of a unit-annuity at
the end of any valuation day is the actuarial present value, calculated on the basis of interest at the
effective annual rate of 4%, of the unit-annuity payments due for the remainder of the guaranteed or
fixed period.

         If the annuity units being commuted are payable under the annual income change method,
the dollar amount is that scheduled to be paid through the following April 1, and, thereafter, the
dollar amount is equal to the number of annuity units payable each month multiplied by the interim
annuity unit value for the annual income change method as of the calculation date.

         If the annuity units being commuted are payable under the monthly income change method,
the dollar amount is that scheduled to be paid for any payment that has already been valued on a
prior payment valuation date for the monthly income change method, and, thereafter, the dollar
amount is equal to the number of annuity units payable each month multiplied by the interim annuity
unit value for the monthly income change method as of the calculation date.

          Transfers to TIAA: Some CREF contracts and certificates allow annuitants to transfer
annuity units from a CREF account to a companion TIAA contract. The value used to determine
benefits in TIAA will be the actuarial present value, calculated on the actuarial basis then in use for
participants beginning income in CREF, of an annuity. The annuity will begin with the payment due
after the next payment valuation date for the monthly income change method that is on or after the
effective date of the transfer, and the annuity is payable for as long as the annuity units being
transferred are payable.

       If the annuity units being transferred are payable under the annual income change
method, the dollar amount used in the calculation is that scheduled to be paid through the

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following April 1, and thereafter is equal to the number of annuity units payable each month
multiplied by the interim annuity unit value for the annual income change method as of the effective
date of the transfer.

         If the annuity units being transferred are payable under the monthly income change method,
the dollar amount used in the calculation is equal to the number of annuity units payable each month
multiplied by the interim annuity unit value for the monthly income change method as of the
effective date of the transfer.


REDETERMINATION OF NUMBER OF ANNUITY UNITS BECAUSE OF AN
INCORRECT STATEMENT OF AGE

     If a participant’s date of birth, as stated in a CREF certificate under which unit-annuity
payments are being made, is incorrect, the number of annuity units payable each month, beginning
when the correction is made and continuing throughout the subsequent duration of the annuity, is
appropriately redetermined by actuarial formula.

      The redetermined number of annuity units is equal to the number of annuity units currently
payable under each income change method from each Account Class multiplied by a factor equal to
A minus B, all divided by C, as defined below. All present values are calculated as of the original
commencement date of the unit-annuity, on the income option chosen and on the actuarial basis then
in use.

      A.     The actuarial present value of an annuity due of $1 per month payable for as long as
             such annuity units are payable, based on the incorrect age that was used in the initial
             calculation.

      B.     The actuarial present value of an annuity due of $1 per month payable for as long as
             such annuity units are payable, but not beyond the correction date, based on the correct
             age as of the initial calculation date.

      C.     The actuarial present value of an annuity due of $1 per month payable after the
             correction date, for as long as such annuity units are payable, based on the correct age
             as of the initial calculation date.




                                                                President and
                                                            Chief Executive Officer




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